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                                       7   Attorneys for Defendants
                                           Raymond Lei and ooShirts, Inc.
                                       8
                                       9                       UNITED STATES DISTRICT COURT
                                      10                     CENTRAL DISTRICT OF CALIFORNIA
                                      11   JEFF DUNHAM, as an individual and in ) CASE NO. 2:20-CV-03716
Gordon Rees Scully Mansukhani, LLP




                                           his capacity as TRUSTEE OF THE JEFF )
  633 West Fifth Street, 52nd floor




                                      12   DUNHAM TRUST DATED MARCH ) DEFENDANTS RAYMOND LEI
                                           24, 2010,                            ) AND OOSHIRTS, INC.’S
      Los Angeles, CA 90071




                                      13                                        ) CERTIFICATION AND NOTICE
                                                                  Plaintiff,    ) OF INTERESTED PARTIES
                                      14
                                                  v.                            ) (Local Rule 7.1-1)
                                      15                                        )
                                           RAYMOND LEI, an individual;          ) Complaint filed: April 23, 2020
                                      16   OOSHIRTS, INC., d/b/a TEECHIP and ) Judge: Hon. Dolly M. Gee
                                           TEECHILI; and DOES 1-50,             ) Magistrate Judge: Hon. Maria Audero
                                      17                                        )
                                                                  Defendants.   )
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                                                   CERTIFICATION AND NOTICE OF INTERESTED PARTIES
                     Case 2:20-cv-03716-MEMF-MAA Document 18 Filed 07/06/20 Page 2 of 2 Page ID #:378



                                       1        TO THE CLERK OF THE COURT, ALL INTERESTED PARTIES
                                       2   AND THEIR ATTORNEYS OF RECORD:
                                       3        Pursuant to Local Rule 7.1-1, the undersigned, counsel of record for
                                       4   defendants Raymond Lei and ooShirts, Inc., hereby certifies that the following
                                       5   parties may have a direct, pecuniary interest in the outcome of this case. These
                                       6   representations are made to enable the Court to evaluate possible disqualification
                                       7   or recusal.
                                       8
                                       9    Party                                                Connection/Interest
                                      10    Jeff Dunham                                          Plaintiff
                                      11    The Jeff Dunham Trust Dated March 24, 2010           Plaintiff
Gordon Rees Scully Mansukhani, LLP
  633 West Fifth Street, 52nd floor




                                      12    Raymond Lei                                          Defendant
      Los Angeles, CA 90071




                                      13    ooShirts, Inc.                                       Defendant
                                      14
                                      15
                                           Dated: July 6, 2020               GORDON REES SCULLY |
                                      16                                     MANSUKHANI, LLP
                                      17
                                                                             By: /s/ Craig J. Mariam
                                      18                                         Craig J. Mariam
                                                                                 Garrett M. Fahy
                                      19                                         Stephanie L. Cobau
                                                                                 Attorneys for Defendants
                                      20                                         Raymond Lei and ooShirts, Inc.
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                                                    CERTIFICATION AND NOTICE OF INTERESTED PARTIES
